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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------------X   Docket No.:
CHRISTOPHER PAGAN, on behalf of himself                                        24-cv-00104
and all others similarly situated,

                                        Plaintiffs,
           -against-                                                           NOTICE OF MOTION

LUCCELLO, INC., d/b/a Itshot.com,

                                         Defendants.
---------------------------------------------------------------------------X



        PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 55(a) and Local Civil Rule

55.2, and upon the accompanying Memorandum of Law submitted in support thereof, and all of

the prior pleadings, proceedings and papers heretofore had herein, Plaintiff Christopher Pagan, on

behalf of himself, will move this Court at the United States Courthouse, Southern District of New

York, 40 Foley Square, New York, New York, 10007, on 20th day of March, 2024 , for an Order

granting Plaintiff’s default judgment against Defendant Luccello, Inc., d/b/a Itshot.com

(“Defendant”), based on Defendant’s failure to appear or otherwise answer within the deadlines

required by Fed. R. Civ. P. 12, and for such other and further relief as the Court may deem just

and proper.

        A copy of the Clerk’s Certificate of Default, a copy of the Complaint, and a proposed Order

granting Default are annexed hereto.



Dated: New York, New York
       March 6, 2024
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                                  Respectfully Submitted,

                                  JON L. NORINSBERG, ESQ., PLLC

                                  _________________________
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